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                                                                                    R. Anthony Rupp III
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                                      September 27, 2022


VIA CM/ECF

Hon. William M. Skretny
United States District Court, Western District of New York
Robert H. Jackson U.S. Courthouse
2 Niagara Square
Buffalo, New York 14202

                      Re:     Yezek v. Village of Gowanda Police Department, et al.
                              1:19-cv-01574-WMS-LGF
                              Extension of time to file stipulation of dismissal

                 On behalf of Plaintiff David E. Yezek I write to request an extension of time to
file the stipulation of dismissal in this matter. On September 13, 2022, this Court issued a text
order directing the parties to file a stipulation of dismissal or other appropriate document
concluding the case within 14 days of the entry date of the text order. In accordance with that
order, Plaintiff provided counsel for Defendants, Donna L. Burden, Esq., with a signed
stipulation, a general release, and a W-9 form by hand delivery to her office last week.
Ms. Burden indicated that she would order the settlement check from the insurance carrier as
soon as she received those documents, but that she would be out of country this week and unable
to provide the check to my office until after her return.

                For these reasons, Plaintiff respectfully requests another two weeks to allow
parties to conclude the settlement.

                     Thank you for Your Honor’s consideration of this letter.


                                              Sincerely,




                                              R. Anthony Rupp III




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Hon. William M. Skretny
United States District Court, Western District of New York
September 27, 2022
Page 2




       cc (via CM/ECF):

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